Case 2:10-md-02179-CJB-DPC Document 11988-30 Filed 12/16/13 Page 1 of 2




                    EXHIBIT 29
Case 2:10-md-02179-CJB-DPC Document 11988-30 Filed 12/16/13 Page 2 of 2




      from:            ~
      To:              SultOn l 1ooe!
      Subject:         Re: crown
      D•te:            Friday, ~1orth lS, 2013 10.25:36 At'.
      -- ..  -~---·--·---·-----------·-···-------·----··-·-----·-·-------

      Ok. What do I owe you? What did he send me for you?

      Sent from my iPhone

      On Mar 15, 2013, at 11:26 AM, Sutton Lionel <Jhs3.law@hotmail.com> wrote:


             Jon told me that he just disbursed so you won't get it for a few days.

             Lionel IJ . Sutton, III
             935 Gravicr St., Ste. 191 0
             New Orleans, LA 70 I 12
             Office 504 592 3230
             Cell 504 957 4689



             CC: jcahlll@glenlerner.com; miketbryant2000@yahoo.com
             From: glenlerneres.Q@aol.com
             Subject: Re: crown
             Date: Frl, 15 Mar 2013 11:12:21 -0400
             To; lhs31aw@hotmail.com
             Jeff. Did we receive Thon? John may have but doesn't mean we did.
             Tiger, what was deal on that?

             Sent from my iPhone

             On Mar 15, 2013, at 10:16 AM, Sutton Uonel <lhs31aw@hotmail..com>
             wrote:


                   Jeff,
                   Joey, Tim and I signed the new OA. Please let me know when
                   my salary will be paid up.
                   Also, let me know about the Thonn money.

                   Lionel H. Sutton, Ill
                   935 Gravicr St., Ste. 19 10
                   New Orleans, LA 70! 12
                   omce   504 592 3230
                   Cell 504 957 4689




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